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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

  KEENAN’S KIDS FOUNDATION,
  INC.,
                                                CIVIL ACTION FILE NO.
          Plaintiff,                            1:20-cv-01702-WMR

  v.                                            JURY TRIAL DEMANDED

  SEAN CLAGGETT,

          Defendants.

  DEFENDANT SEAN CLAGGETT’S RESPONSE IN OPPOSITION TO
  PLAINTIFF’S MOTION FOR VOLUNTARY DISMISSAL WITHOUT
                       PREJUDICE

       Defendant Sean Claggett (“Mr. Claggett”) hereby responds in opposition to

the Motion for Voluntary Dismissal Without Prejudice (“Motion”) filed by Plaintiff

Keenan’s Kids Foundation, Inc. (“Keenan”) as follows:

 I.    INTRODUCTION

       At the heart of this case is a dispute between two trial lawyers who for years

worked closely together, including teaching other attorneys, but are now

competitors. On one side is Don Keenan, a trial lawyer who charges thousands of

dollars per attorney for the courses he and his colleagues teach and who created

Keenan’s Kids Foundation, Inc. (“Plaintiff” or “Keenan”), a purported charitable



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foundation, through which he funnels the money charged for these courses. On the

other side is Mr. Claggett, a trial lawyer who paid thousands of dollars for instruction

via courses, books and other material developed by Don Keenan and others, became

one of Keenan’s instructors, and after developing his own skills and becoming

successful, was pushed out of Keenan’s organization. Mr. Claggett now teaches

courses and shares his trial techniques to other lawyers without charging for such

instruction. Keenan, however, accuses Mr. Claggett of misappropriating unspecific

voir dire trade secrets for profit.

       Now, in the middle of this case, Keenan seeks dismissal of its own claims. At

the time Keenan filed its Motion, there, however, were numerous outstanding issues

with Keenan’s discovery responses, Mr. Claggett was pressing for documents and

other discovery, and Keenan knew the case was at the point where it would have to

produce support for its claims. Rather, than produce such support and comply with

its discovery obligations, Keenan requested dismissal claiming without submitting

any proof that Mr. Claggett has changed the manner in which he teaches.

       Mr. Claggett has not changed any of his teaching techniques during this

lawsuit and will not change anything in the future1. Among other things, during the


1
  Mr. Claggett has not changed anything because there is nothing to change; he did
not misappropriate any trade secrets. Even if trade secrets existed, Keenan has not
identified with any specificity what those trade secrets are beyond the nebulous

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pendency of this lawsuit, Mr. Claggett has presented multiple seminars with David

Ball, the co-founder of the “Reptile” trial method to which Keenan apparently claims

ownership. Keenan’s representation that Mr. Claggett has changed his teaching

behavior is simply false and a transparent attempt to manufacture a justification for

dismissal.

        Keenan’s failure to move for injunctive relief further illuminates the weakness

of its claims and improper purpose of this action. Despite making serious claims of

trade secret misappropriation, and knowing that Mr. Claggett continues to teach trial

strategies to thousands of attorneys across the country, Keenan never moved for a

preliminary injunction.      As it knows, to obtain injunctive relief, Keenan must

produce evidence.

        Simply put, this case has been nothing more than an exercise by Keenan in

harassing Mr. Claggett and forcing him to spend resources defending against

baseless claims. In that, Keenan has been successful. In the 10 months since the

case was filed, Mr. Claggett has been forced to expend over $78,000 in attorney’s

fees.

        If the Court dismisses the case, Mr. Claggett therefore requests that it be with



allegations in the Complaint thus preventing Mr. Claggett from knowing what it is
he is supposed to change.

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prejudice. If the Court dismisses with prejudice, Mr. Claggett requests attorney’s

fees as the prevailing party under the Georgia Trade Secrets Act and/or the federal

Defend Trade Secrets Act, both of which contain fee-shifting provisions to the

prevailing party where a claim of misappropriation is made in bad faith.

      Alternatively, if the Court dismisses the case without prejudice, to dissuade

Keenan from pursuing future meritless litigation, Mr. Claggett requests that an

award of litigation expenses be a condition of dismissal. Mr. Claggett asks that

Keenan be required to pay the attorney’s fees and other expenses within 30 days of

entry of an order or dismissal will be entered with prejudice.

II.   BACKGROUND

      On April 27, 2020, Keenan filed its initial Complaint. (Doc. 1.) Keenan

asserted claims for misappropriation of trade secrets which it alleged were voir dire

techniques disclosed at a 2014 seminar, and breach of a document entitled

“Confidentiality Agreement” which Mr. Claggett signed at the 2014 seminar.

      On May 27, 2020, Mr. Claggett filed a Motion to Dismiss. (Doc. 9.) Among

other things, the motion sought relief based on the terms of the “Confidentiality

Agreement”. Rather than filing a response addressing the merits of the motion to

dismiss, on June 10, 2020, Keenan filed an Amended Complaint dropping the claim

for breach of the “Confidentiality Agreement”. (Doc. 11.)


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       On June 23, 2020, Mr. Claggett filed his Motion to Dismiss the Amended

Complaint. (Doc. 13.) On July 07, 2020, Keenan filed its response to the motion.

(Doc. 18.)

       On June 26, 2020, Keenan filed its Initial Disclosures. In the disclosures,

Keenan did not identify with any specificity documents but stated only the

following:

       Non-privileged documents related to Plaintiff’s business; Plaintiff’s
       trade secrets; Plaintiff’s confidentiality measures; Plaintiff’s
       relationship with Defendant; Defendant’s misappropriation of
       Plaintiff’s trade secrets; and Plaintiff’s damages.

(Doc. 16.) As in its Amended Complaint, Keenan stated it was seeking injunctive

relief. (Id.)

       On August 7, 2020, the Court denied the Motion to Dismiss the Amended

Complaint. (Doc. 22.)

       On September 28, 2020, Mr. Claggett served requests for production of

documents on Keenan. (Attached hereto as Exhibit A is a true and correct copy of

Def.’s First RPD.) The requests consisted of 115 requests and included routine

requests such as the following:

                                     1.

       Please produce any and all documents which reflect, identify or
       describe the trade secrets you allege in your complaint.


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                                2.

Please produce any and all documents describing with reasonable
particularity the “Trade Secret Voir Dire Techniques” alleged in your
complaint.

                                3.

Please produce any and all documents demonstrating when Don
Keenan and/or Keenan’s Kids Foundation first developed the “Trade
Secret Voir Dire Techniques” that you allege Mr. Claggett
misappropriated.

                                4.

Please produce any and all documents supporting or relating to your
contention that Keenan’s Kids Foundation owns or has the right to use
the trade secrets alleged in your complaint, including any agreements
whereby Keenan’s Kids Foundation obtained ownership of the alleged
trade secrets or licensed the alleged trade secrets.

                                5.

All documents which reflect, refer or relate to the development of the
trade secrets alleged in your Complaint.

                                6.

Please produce any and all documents referring to, reflecting or relating
to the “unique title phrases” referenced in paragraph 34 of your
complaint.

                                7.

Please produce any and all documents describing referring to, reflecting
or relating to the “unique system of tried and tested techniques and
strategies” referenced in paragraph 34 of your complaint.


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      Although it acknowledged receiving the document requests by email, when

asked about the responses after the due date, Keenan’s counsel represented that the

document requests had not been received by mail. By agreement, Keenan therefore

responded to the requests on December 4, 2020. (Attached hereto as Exhibit B is a

true and correct copy of Keenan’s Resp. to Def.’s First RPD.)

       In its responses, Keenan repeatedly objected to requests using the following

objection or a similar boilerplate objection:

      The Foundation objects to the demand for “any and all documents”
      contained in Request No. 1 as overly broad and impermissible under
      Fed. R. Civ. P. 26(b) and Fed. R. Civ. P. 34(b)(1)(A) because it does
      not specifically describe with reasonable particularity the information
      that is being requested and is not proportional and tailored specifically
      to the claims or defenses in this case. See, e.g., Gropper v. David Ellis
      Real Estate, L.P., No. 13-CV-2068 (ALC) (JCF), 2014 WL 518234, at
      *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request for ‘any and all’
      documents…is inherently overbroad”). The Foundation further objects
      to the production of these confidential documents except pursuant to a
      Protective Order entered by the Court. The Foundation will produce
      nonprivileged documents sufficient to reflect, identify, or describe the
      trade secrets alleged in its First Amended Complaint, if any such
      documents exist.

(Exh. B at No. 1.) Keenan did not any produce documents at that time.

      On December 21, 2020, Mr. Claggett’s counsel sent a discovery dispute letter

to Kennan’s counsel outlining the deficiencies in Keenan’s responses. (Attached

hereto as Exhibit C is a true and correct copy of the December 21, 2020 letter.)

      After Mr. Claggett’s asked again via email for a written response, Keenan’s

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counsel via email dated January 4, 2021 refused to respond to the December 21,

2021 letter in writing, insisting instead on a telephone call. (Attached hereto as

Exhibit D is a true and correct copy of the January 4, 2021 email.) Counsel spoke

on January 8, 2021. Keenan refused to withdraw objections but indicated it would

produce certain documents on a rolling basis.

      On January 15, 2021, Keenan produced documents. Keenan produced only

333 pages, 241 of which consisted of pages apparently from a Keenan website.2

(See Exhibit F which is a true and correct copy of a January 21, 2021 letter about

the production sent by Claggett’s counsel to Keenan’s counsel.) Keenan also

produced videos, which except for one reflected Mr. Claggett teaching a voir dire

course in January 2020 after his affiliation with Keenan ended. Pursuant to a

protective order the parties had agreed to request the Court enter, Keenan also

designated everything except the website pages “highly confidential” (i.e., attorney’s

eyes only) including the videos of Mr. Claggett teaching a course in 2020 after his

affiliation with Keenan ended .3 From this scarce production, it was still not possible



2
  Claggett timely answered 123 requests for admissions, 34 document requests, 14
interrogatories (which included numerous subparts), responded in writing to a letter
from Keenan’s counsel raising issues with his discovery responses, and has produced
1461 pages of documents.
3
  Claggett counsel could not download the one video which based on its title did not
appear to depict Mr. Claggett. (Exh. E.)

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to determine exactly what Keenan claimed was a trade secret.

      On January 20, 2021, Mr. Claggett’s counsel emailed Keenan’s counsel

asking if Keenan would be supplementing the production. (Attached hereto as

Exhibit E is a true and correct copy of the January 20, 2021 email.)

      On January 21, 2021, Keenan’s counsel informed Mr. Claggett’s counsel that

Keenan intended to dismiss the case without prejudice, and indicated Keenan would

file a motion unless Mr. Claggett stipulated to the dismissal.

      On January 21, 2021, Mr. Claggett’s counsel sent a letter to Keenan’s counsel

raising issues with the deficient document production. (Attached hereto as Exhibit

F is a true and correct copy of the January 21, 2021 letter.) In the January 21, 2021

letter, counsel asked Keenan to state whether for certain requested categories of

requested documents (e.g., documents reflecting, identifying or discussing the

alleged trade secrets) it has responsive documents or has produced responsive

documents. And, if Keenan had produced responsive documents, to identify the

document numbers of the responsive documents and whether additional documents

would be produced. (Id.)

      On January 21, 2021, Mr. Claggett offered to stipulate to dismissal based on

certain terms, including dismissal with prejudice and payment of litigation expenses.

      On February 1, 2021, because the case had not been dismissed, Mr. Claggett’s


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counsel sent an email to Keenan’s counsel requesting a response to the outstanding

January 21, 2021 discovery letter and deposition dates for Keenan witnesses,

including Don Kennan. (Attached hereto as Exhibit G is a true and correct copy of

the February 1, 2021 email.)

       On February 3, 2021, after Keenan’s counsel informed Mr. Claggett’s counsel

that a motion would be filed, Keenan filed the Motion to Dismiss Voluntarily

Without Prejudice Under F.R.C.P. 41(a)(2). (Doc. 37.)

III.   ARGUMENT

       A.    IF THE COURT IS INCLINED TO DISMISS THIS CASE,
             DISMISSAL WITH PREJUDICE IS WARRANTED BECAUSE
             THIS LAWSUIT WAS NOTHING MORE THAN AN EXERCISE
             TO FORCE MR. CLAGGETT SPEND TIME AND MONEY

       After a defendant has filed an answer or motion for summary judgment, Rule

41(a)(2) requires a plaintiff seeking voluntary dismissal to obtain permission from

the court. Such dismissal must be by court order and “on terms that the court

considers proper.” Fed. R. Civ. P. 41(a)(2). Dismissal is to be considered without

prejudice unless otherwise specified by the court. Arias v. Cameron, 776 F.3d 1262,

1268 (11th Cir. 2015).

       When considering dismissal under Rule 41(a)(2), the court should consider

(1) whether dismissal “infringes the legal or equitable rights” of the defendant; (2)

whether dismissal should be with or without prejudice; and (3) what, if any,

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conditions should be placed on the dismissal. Spencer v. Moore Business Farms,

Inc., 87 F.R.D. 118, 119 (N.D. Ga. 1980). The decision whether to grant a voluntary

motion to dismiss under Fed. R. Civ. P. 41(a)(2) falls within the sound discretion of

the district court and is reviewed for abuse of discretion. Arias, 776 F.3d at 1268

(citing Fisher v. Puerto Rico Marine Mgmt., Inc., 940 F.2d 1502, 1502-03 (11th Cir.

1991) (per curiam)).

      District courts enjoy broad discretion in determining whether to allow

voluntary dismissal under Rule 41(a)(2). Arias, 776 F.3d at 1268 (citing Pontenberg

v. Boston Scientific Corp., 252 F.3d 1253, 1255 (11th Cir. 2001)). Generally,

dismissal should be granted “unless the defendant will suffer clear legal prejudice

other than the mere prospect of a second lawsuit.” Id. (citing Pontenberg, 252 F.3d

at 1255; Fisher, 940 F.2d at 1502-03).

      While Rule 41(a)(2) generally favors dismissal, the purpose of the rule is

“primarily to prevent voluntary dismissals which unfairly affect the other side, and

to permit the imposition of curative conditions.” Arias, 776 F.3d at 1268 (quoting

McCants v. Ford Motor Co., Inc., 781 F.2d 855, 856 (11 Cir. 1986)). Indeed, “Rule

41(a)(2) exists chiefly for protection of defendants.” Id. at 1269 (quoting Fisher,

940 F.2d at 1503). The crucial question to be addressed when considering voluntary

dismissal is whether “the defendant would lose any substantial right by dismissal.”


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Id. (quoting Pontenberg, 252 F.3d at 1255). In the end, the court “must look at the

particular facts of the case, including, among others, whether the plaintiff’s counsel

has acted in bad faith,” and “weigh the relevant equities and do justice between the

parties in each case, imposing such costs and attaching such conditions to the

dismissal as are deemed appropriate.”     Id. at 1272 (citing McCants, 781 F.2d at

857). The failure to comply with any conditions imposed by the court will result in

dismissal with prejudice. Lau v. Glendora Unified Sch. Dist., 792 F.2d 929, 930

n.2 (9th Cir. 1986).

      Although he opposes dismissal and would prefer that this case go to trial and

be resolved on the merits, Mr. Claggett recognizes that courts are generally inclined

to grant voluntary dismissal requests. If the Court is inclined to dismiss this case,

Mr. Claggett requests that dismissal be with prejudice and Keenan pay Mr. Claggett

an amount equal to the litigation expenses he incurred or alternatively if it is

dismissed without prejudice, that Keenan be required to pay all of Mr. Claggett’s

litigation expenses.

      Dismissal with prejudice is appropriate because this lawsuit has every

hallmark of one that was brought merely to harass the defendant. Keenan has made

baseless allegations in this lawsuit about Mr. Claggett, that Mr. Claggett will now

be unable to defend against on the merits. Keenan has not demonstrated a shred of


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legitimacy to its claims and has refused to produce any evidence to demonstrate the

existence of trade secrets let alone misappropriation.   To this day, it remains a

mystery as to what Keenan contends are trade secrets beyond the broad conclusory

allegations in the Amended Complaint. It was only when discovery was at the point

where Keenan would actually have to produce evidence that it moved to dismiss the

lawsuit. There is no other legitimate explanation for the timing of the Motion.

       Keenan’s failure to move for injunctive relief also betrays the improper

purpose underlying the case. Mr. Claggett has continued to teach voir dire and trial

techniques to thousands of lawyers across the country during the pendency of this

lawsuit. He has not changed a single thing about the way he teaches—contrary to

Keenan’s claims in the motion to dismiss—and has no plans to change anything in

the future.

      Any dismissal should be with prejudice so Keenan cannot simply refile, assert

baseless claims and again use litigation as a weapon in an attempt to compromise a

competitor by forcing him to expend substantial resources.

      B.      IF THE COURT DISMISSES WITH PREJUDICE, MR.
              CLAGGETT REQUESTS ATTORNEY’S FEES UNDER THE
              GEORGIA TRADE SECRETS ACT AND/OR THE DEFEND
              TRADE SECRETS ACT BECAUSE HE IS THE PREVAILING
              PARTY   AND    KEENAN      MADE   CLAIMS    OF
              MISAPPROPRIATION IN BAD FAITH

      Generally, when a case is dismissed without prejudice following a plaintiff’s

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motion to dismiss, the defendant is not considered the prevailing party for purposes

of fee shifting provisions. See Hughes v. Lott, 350 F.3d 1157, 1161 (11th Cir. 2003)

(“A dismissal without prejudice is not an adjudication on the merits….”).

      Dismissal with prejudice, however, does support a finding that the defendant

is the prevailing party for purposes of fee shifting provisions. See Claiborne v.

Wisdom, 414 F.3d 715, 719 (7th Cir. 2005); Highway Equipment Co., Inc., v. FECO,

Ltd., 469 F.3d 1027, 1035 (Fed. Cir. 2006); see also Buckhannon Bd. & Care Home,

Inc. v. W. Va. Dep’t of Health & Human Res., 532 U.S. 598, 604 (2001)

(“[E]nforceable judgments on the merits and court-ordered consent decrees create

the ‘material alteration of the legal relationship between the parties’ necessary to

permit an award of attorney’s fees.”). This is because dismissal with prejudice

“effects a material alteration” of the legal relationship between the parties and

terminates any claims the plaintiff may have had under the operative set of facts.

Claiborne, 414 F.3d at 719.

      The present case involves claims of misappropriation under the Georgia Trade

Secrets Act and the federal Defend Trade Secrets Act, both of which contain fee-

shifting provisions to the prevailing party where a claim of misappropriation is made

in bad faith. See O.C.G.A. § 10-1-764 (if a claim of misappropriation is made in

bad faith, the court may award reasonable attorneys’ fees to the prevailing party); 18


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U.S. § 1836(b)(3)(D) (“if a claim of misappropriation is made in bad faith, which

may be established by circumstantial evidence” the court may award reasonable

attorney’s fees to the prevailing party).

      Neither statute defines “bad faith” and “Georgia authority applying O.C.G.A.

§ 10-1-764 is almost nonexistent.” HCC Ins. Holdings, Inc. v. Valda Flowers, 2017

U.S. Dist. LEXIS 183052, at *2-3 (N.D. Ga. Nov. 6, 2017) (citing Greenberg

Farrow Architecture Inc. v. Perkins Eastman Architects, P.C., 2014 U.S. Dist.

LEXIS 198898, 2014 WL 12694269, at *6 (N.D. Ga. July 1, 2014).             Authority

addressing this issue generally dictates a two-prong approach to determine (1)

whether the plaintiff’s claim was “objectively specious” and (2) the plaintiff

exhibited “subjective misconduct” in bringing or maintaining the claim.           Id.

(quoting Rent Info. Tech., Inc. v. Home Depot U.S.A., Inc., 268 F. App’x 555, 560

(9th Cir. 2008) (interpreting the bad faith requirement of O.C.G.A. § 10-1-764).

“Objective speciousness exists where there is a complete lack of evidence supporting

plaintiff’s claim.” Rent Info Tech, Inc., 268 F. App’x at 560 (citing Computer Econ.,

Inc., v. Gartner Grp., Inc., 1999 U.S. Dist. LEXIS 22204, 1999 WL 33178020, at

*6 (S.D. Cal. Dec. 14, 1999)). “Subjective misconduct [or bad faith] exists where

a plaintiff knows or is reckless in not knowing that its claim for trade secret

misappropriation has no merit.” Id.


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      Here, Keenan’s conduct meets both requirements of objective speciousness

and subjective misconduct. Keenan has never identified with any meaningful

specificity the trade secrets he claims to have been misappropriated. The Complaint

merely sets forth broad nebulous allegations. Keenan only alleges that some

unidentified trial techniques that he teaches to lawyers to use in jury trials are

somehow a trade secret. Keenan’s conclusory statements in a complaint are hardly

enough to support its claims.

      In response to written discovery, and in violation of the Court’s Standing

Order Regarding Civil Litigation prohibiting boilerplate objections, Keenan raised

repeatedly boilerplate objections to numerous document requests propounded in an

effort to unearth basic information about the claims. After correspondence from Mr.

Claggett’s counsel, and a meet and confer, Keenan finally produced some documents

but this production was glaringly deficient. Keenan has not produced a single

document identifying what he claims to actually be a trade secret, demonstrating the

protection of a trade secrets, showing the ownership of any trade secret, establishing

Mr. Claggett was under any duty to protect a purported trade secret, or evidencing

the misappropriated of a trade secret.4


4
 Keenan produced videos of Mr. Claggett teaching voir dire techniques at a
January 2020 course but Mr. Claggett does know what content discussed at the
presentation, if any, Keenan contends was a trade secret.

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      Another important fact demonstrating objective speciousness is Keenan’s

decision not to move for injunctive relief. In trade secret cases, especially where it

is alleged that the misappropriation is ongoing as Keenan claims, it is common for

plaintiffs to move for a preliminary injunction.   Keenan asked for injunctive relief

in its the Amended Complaint. But Keenan never moved for preliminary injunctive

relief and now apparently is content to move on without any injunctive relief

whatsoever.

       This same conduct also evidences subjective misconduct or bad faith.

Keenan never had an intention to litigate this case on the merits, and this is

demonstrated by the refusal to produce any evidence. Don Keenan is an experienced

trial lawyer. He claims to have done over 100 jury trials and certainly understands

the evidentiary requirements needed to prosecute a case and conduct a trial. Keenan

either (a) has no evidence to produce, and/or (b) never intended to produce any

evidence and brought this suit to force a former protégé and now competitor to

expend resources.

      The record compels a finding that Mr. Claggett is the prevailing party, and an

award of litigation expenses, including attorney’s fees.

      C.      IF THE COURT DISMISSES THE CASE WITHOUT
              PREJUDICE, KEENAN SHOULD BE REQUIRED TO PAY MR.
              CLAGGETT’S LITIGATION EXPENSES AS A CONDITION
              OF DISMISSAL

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      An award of expenses is one of the terms and conditions that courts can

impose before granting dismissal. See Kern v. TXO Production Corp., 738 F.2d

968, 972 (8th Cir. 1984) (“The rule has long prevailed in both law and equity that a

plaintiff may dismiss the case without prejudice only by payment of the costs….”)

(quoting Home Owners’ Loan Corp. v. Huffman, 134 F.2d 314, 317 (8th Cir. 1943));

Resorts Int’l v. Lowenschuss (in re Lowenschuss), 67 F.3d 1394, 1400-01 n.5 (9th

Cir. 1995) (noting that an award of attorney’s fees is a possible remedy where the

defendant has expended a large sum of money and time in preparation where

dismissal is without prejudice).

      “A plaintiff ordinarily will not be permitted to dismiss an action without

prejudice…after the defendant has been put to considerable expense in preparing for

trial except on condition that the plaintiff reimburse the defendant for at least a

portion of his litigation expenses.” McCants, 781 F.2d at 860). The imposition of

costs and attorney’s is done to protect the defendant when the plaintiff seeks to

voluntarily dismiss the case. ME2 Prods. v. Sheldon, 2017 U.S. Dist. LEXIS

173264, at *6 (D. Or. Sep. 21, 2017); Stevedoring Servs of Am., v. Armilla Int’l B.V.,

889 F.2d 919, 921 (9th Cir. 1989) (“We do not read Rule 41(a)(2) as always

requiring the imposition of costs as a condition to voluntary dismissal, although it is

usually considered necessary for the protection of the defendant”). In light of the

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need to protect defendants in the case of voluntary dismissal, courts across the

country have conditioned dismissal on the payment of attorney’s fees and costs to

the defendant. See, e.g., Brown v. Baeke, 414 F.3d 1121, 1126 (10th Cir. 2005);

Williams v. Peralta Cnty. Coll. Dist., 227 F.R.D. 538, 539 (N.D. Cal. 2005) (finding

that “costs are often awarded as a condition of dismissal without prejudice”);

Stevedoring Services of Am., 889 F.2d at 921; Victory Beaty Supply, Inc. v. La Maur,

Inc., 98 F.R.D. 306, 309 (N.D. Ill. 1983).

      This is a well-recognized principle, and is reflected in Moore’s Federal

Practice:

      After answer is served and the defendant has incurred considerable
      expense in preparing for trial, dismissal without prejudice is a question
      of equities and is usually not allowed by the court except on condition
      that the plaintiff pay defendant his reasonable costs and attorneys’ fees
      in a stated amount within a fixed time.

In re Begley, 12 B.R. 839, 842 (Bankr. D. Conn. 1981) (quoting 5 Moore’s Federal

Practice, para 41.05[1] (1981)).

      If the Court is inclined to dismiss the case without prejudice, the dismissal

should, at the very least, be conditioned upon the payment of Mr. Claggett’s

attorney’s fees and costs. Because Keenan has made no effort to actually support

its claims, this condition is more than reasonable. Keenan has forced Mr. Claggett

to spend over $78,000 in attorney’s fees and repayment of that entire amount


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incurred is warranted for having to defend against these baseless claims where Mr.

Claggett has been denied the opportunity to have the case decided on the merits.

        Keenan may argue that this case is in its early stages and therefore fees are

not warranted. But this argument ignores the fact that Keenan’s obstructive tactics

are what have caused the case to stall and caused Mr. Claggett to incur more fees in

an attempt to move the case along. Mr. Claggett was pressing Keenan to comply

with its discovery obligations when Keenan responded by moving to dismiss the

case.

        Despite being the plaintiff, and having the burden of proof, Keenan has been

obstinate in refusing to produce evidence.       It was only after a discovery letter,

emails, and a telephone conference that Keenan produced anything. As discussed

above, Keenan’s production was glaringly incomplete and deficient. Out of the 333

pages of documents Keenan produced, 241 of those are from a public website.

Keenan only produced videos of Mr. Claggett teaching one seminar in January 2020.

There were multiple categories of relevant documents for which nothing was

produced, and Keenan failed produced anything that established the existence of

trade secrets, ownership of trade secrets, protection of trade secrets, or

misappropriation or use of trade secrets.

        When the case was at point when documents supporting the claims would


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need to be produced, Keenan’s response was to move to dismiss the lawsuit. Keenan

has now forced Mr. Claggett to spend 10 months and over $78,000 defending against

claims that Keenan has refused to substantiate. Keenan’s actions confirm that the

true motives behind this lawsuit were to harass Mr. Claggett and cause him to expend

significant resources.   Therefore, to dissuade Keenan from engaging in future

abusive litigation, Keenan should be required to pay Mr. Claggett the litigation

expenses he incurred, including attorney’s fees.

IV.   CONCLUSION

      After refining his skills and developing his own techniques, Mr. Claggett

achieved significant trial success, and his relationship with Keenan deteriorated.

Success breeds contempt. To punish Mr. Claggett for forging his own way, Keenan

filed this action and when faced with having to produce support for its flimsy claims,

Keenan requested dismissal. Mr. Claggett has suffered the brunt of the intended

punishment as he has been forced to expend thousands in litigation expenses. To

preserve and protect the integrity of these proceedings, any dismissal should be

coupled with appropriate conditions.

       Mr. Claggett therefore respectfully requests that if the Court dismisses this

case that it be with prejudice and that Mr. Claggett be awarded attorney’s fees under

the Georgia Trade Secret Act and/or the Defendant Trade Secret Act. Alternatively,


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if the Court is inclined to dismiss the case without prejudice, Mr. Claggett asks that

Keenan be ordered to pay Mr. Claggett’s attorney’s fees and other litigation

expenses within 30 days of entry of an order or have the dismissal be entered with

prejudice.5

       Respectfully submitted this 16th day of February, 2021.


    POLSINELLI PC                             s/ Joseph C. Sharp
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  If the Court conditions the dismissal on payment of litigation expense, Mr.
Claggett’s counsel is prepared to submit a declaration testifying to the reasonable
and necessary litigation expenses, including attorney’s fees, incurred by Mr.
Claggett.

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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

  KEENAN’S KIDS FOUNDATION,
  INC.,
                                            CIVIL ACTION FILE NO.
         Plaintiff,                         1:20-cv-01702-WMR

  v.                                        JURY TRIAL DEMANDED

  SEAN CLAGGETT,

          Defendants.

            CERTIFICATE OF COMPLIANCE AND SERVICE

      I hereby certify that on this 16th day of February, 2021, the foregoing
DEFENDANT SEAN CLAGGETT’S RESPONSE IN OPPOSITION TO
PLAINTIFF’S MOTION FOR VOLUNTARY DISMISSAL WITHOUT
PREJUDICE has been prepared in Times New Roman, 14-point font, in
conformance with Local Rule 5.1C and served upon all counsel of record via the
Court’s electronic filing system.

                                          s/ Joseph C. Sharp
                                          Joseph C. Sharp




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